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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                      Case No. 08-cr-39-05-PB

Gillian Barrett



                               O R D E R

     The defendant has moved, through counsel, to continue the

trial scheduled for November 4, 2008, citing the need for

additional time to finalize plea negotiations or prepare for

trial.    The government does not object to a continuance of the

trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from November 4, 2008 to January 6, 2009.              In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendant in a speedy trial.
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      The court will hold a final pretrial conference on December

29, 2008 at 3:15 p.m.

      SO ORDERED.



                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

November 3, 2008

cc:   Stanley Norkunas, Esq.
      Debra Walsh, AUSA
      United States Probation
      United States Marshal




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